                                Case 17-12377-BLS                        Doc 1           Filed 11/07/17            Page 1 of 21
Fill in this information to identify the case:

United States Bankruptcy Court for the:
____________________ District of Delaware
                                      (State)

Case number (If known): _________________________ Chapter 11                                                                             Check if this is an
                                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               04/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                              ExGen Texas Power, LLC


2.   All other names debtor used
     in the last 8 years
     Include any assumed names, trade
     names, and doing business as names




3.   Debtor’s federal Employer
                                                XX-XXXXXXX
     Identification Number (EIN)


4.   Debtor’s address                           Principal place of business                                 Mailing address, if different from principal place
                                                                                                            of business


                                                10 South Dearborn Street                                    1310 Point Street
                                                Number       Street                                         Number     Street


                                                  th
                                                49 Floor
                                                                                                            P.O. Box


                                                Chicago, Illinois 60603                                     Baltimore, Maryland 21231
                                                City                             State        Zip Code      City                          State          Zip Code

                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business

                                                Cook County
                                                County
                                                                                                            Number     Street




                                                                                                            City                          State          Zip Code




5.   Debtor’s website (URL)


6.   Type of debtor                                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                       Partnership (excluding LLP)
                                                       Other. Specify:




                                                                                                                                                            page 1

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Debtor                        Case
                ExGen Texas Power, LLC17-12377-BLS                       Doc 1         Filed 11/07/17          Page
                                                                                              Case number (if known) 2 of 21
                Name




7.    Describe debtor’s business                 A. Check one:
                                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                     None of the above


                                                 B. Check all that apply:
                                                     Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                     Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                     Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                 C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                    http://www.uscourts.gov/four-digit-national-association-naics-codes.

                                                            2211


8.    Under which chapter of the                 Check one:
      Bankruptcy Code is the
      debtor filing?                                 Chapter 7
                                                     Chapter 9
                                                     Chapter 11. Check all that apply:
                                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                        affiliates) are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every
                                                                        3 years after that).
                                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor
                                                                        is a small business debtor, attach the most recent balance sheet, statement of
                                                                        operations, cash-flow statement, and federal income tax return or if all of these
                                                                        documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                        A plan is being filed with this petition.
                                                                        Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                        in accordance with 11 U.S.C. § 1126(b).
                                                                        The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                        Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                        Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                        Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                        The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                        12b-2.
                                                     Chapter 12


9.    Were prior bankruptcy cases                    No
      filed by or against the debtor                 Yes.    District                         When                        Case number
      within the last 8 years?                                                                        MM / DD / YYYY
      If more than 2 cases, attach a separate                District                         When                        Case number
      list.
                                                                                                      MM / DD / YYYY


10.   Are any bankruptcy cases                       No
      pending or being filed by a                    Yes.    Debtor See Rider 1                                        Relationship
      business partner or an
      affiliate of the debtor?                               District                                                  When
                                                                                                                                      MM / DD / YYYY
      List all cases. If more than 1, attach a
      separate list.                                         Case number, if known




                                                                                                                                                          page 2

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Debtor                     Case
             ExGen Texas Power, LLC17-12377-BLS                Doc 1        Filed 11/07/17         Page 3 of 21
                                                                                   Case number (if known)
             Name




11.   Why is the case filed in this   Check all that apply:
      district?                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.
                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have         No See Rider 2
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal
      property that needs                         Why does the property need immediate attention? (Check all that apply.)
      immediate attention?                           It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?
                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).
                                                     Other


                                                  Where is the property?
                                                                             Number         Street




                                                                             City                                   State              ZIP Code


                                                  Is the property insured?
                                                     No
                                                     Yes. Insurance agency

                                                             Contact name

                                                             Phone


          Statistical and administrative information


13.   Debtor’s estimation of          Check one:
      available funds                     Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.


14.   Estimated number of                 1-49                                      1,000-5,000                           25,001-50,000
      creditors                           50-99                                     5,001-10,000                          50,001-100,000
                                          100-199                                   10,001-25,000                         More than 100,000
                                          200-999


15.   Estimated assets                    $0-$50,000                                $1,000,001-$10 million                $500,000,001-$1 billion
                                          $50,001-$100,000                          $10,000,001-$50 million               $1,000,000,001-$10 billion
                                          $100,001-$500,000                         $50,000,001-$100 million              $10,000,000,001-$50 billion
                                          $500,001-$1 million                       $100,000,001-$500 million             More than $50 billion




                                                                                                                                                    page 3

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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
ExGen Texas Power, LLC,                                        : Case No. 17-_____ (___)
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x

                                                Rider 1

            Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

       On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
voluntary petition in the United States Bankruptcy Court for the District of Delaware for relief
under chapter 11 of title 11 of the United States Code. The Debtors have moved for joint
administration of their cases with the lead case number assigned to the chapter 11 case of ExGen
Texas Power, LLC.

             ExGen Texas Power, LLC
             ExGen Texas Power Holdings, LLC
             Wolf Hollow I Power, LLC
             Colorado Bend I Power, LLC
             Handley Power, LLC
             Mountain Creek Power, LLC
             LaPorte Power, LLC




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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
ExGen Texas Power, LLC,                                        : Case No. 17-_____ (___)
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x

                                                Rider 2

             Real Property or Personal Property that Needs Immediate Attention
       Question 12, among other things, asks the debtor to identify any property that poses or is
alleged to pose a threat of imminent and identifiable hazard to public health or safety.
        The above-captioned debtor (the “Debtor”) does not believe it owns or possesses any real
or personal property that (i) poses a threat of imminent and identifiable hazard to public health
or safety, (ii) needs to be physically secured or protected from the weather, or (iii) includes
perishable goods or assets that could quickly deteriorate. The Debtor notes that it is not aware
of the exact definition of “imminent and identifiable hazard” as used in this form.




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      WRITTEN CONSENT OF THE SOLE MEMBER OF THE RESTRUCTURING
                COMMITTEE OF EXGEN TEXAS POWER, LLC

       The undersigned, being the sole member of the Restructuring Committee (as defined
below) of Exgen Texas Power, LLC, a Delaware limited liability company (the “Company”),
pursuant to the Delaware Limited Liability Company Act and the Second Amended and Restated
Limited Liability Company Agreement of the Company, dated as of September 5, 2014, as
heretofore amended (the “LLC Agreement”) DOES HEREBY CONSENT to the adoption of,
and DOES HEREBY ADOPT, the following resolutions:

        WHEREAS, pursuant to Section 9(f) of the LLC Agreement and the Action by
Unanimous Written Consent of the Board of Directors of the Company, on or about November 6,
2017 (the “Board Consent”), the Board of Directors of the Company (the “Board”) (i)
established and designated a committee of the Board consisting of one Board member (the
“Restructuring Committee”), (ii) delegated its authority to the Restructuring Committee to,
among other things and as is more particularly described in the Board Consent, (a) file a
voluntary petition (the “Petition”) for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”) and all other documents necessary or
advisable to commence a chapter 11 case with respect to the Company, (b) take any other
Material Actions (as defined in the LLC Agreement) necessary in connection with the Petition
and the commencement of such case, and (c) negotiate, approve and file a chapter 11 plan,
associated disclosure statement, and any associated documents (the “Plan”), and (iii) appointed
Alan Carr, the current independent director of the Board, to the Restructuring Committee, as its
sole member;

       WHEREAS, upon careful consideration and after seeking alternative solutions, the
following resolutions are adopted and recorded in the minute book of the Company, and they
have not been modified or rescinded, and are still in full force and effect:

       RESOLVED, that it is desirable and in the best interests of the Company and its
stakeholders, to file the Petition under chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), and the same is hereby
authorized and approved; and it is further,

       RESOLVED, that David Rush and each of the other officers of the Company (each an
“Authorized Person,” and together the “Authorized Persons”) be, and each of them hereby is,
authorized, empowered and directed, in the name and on behalf of the Company to prepare,
execute and verify the Petition in such form as the Authorized Person executing the same shall
deem appropriate and as required by law and to file such petition, thereby commencing the
Company’s chapter 11 case in the Bankruptcy Court together with such applications, statements,
schedules, exhibits and reports as may be required from time to time by the Bankruptcy Court,
the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure or court order, and to prepare
and execute all other papers and take all other actions necessary or appropriate in connection
with the Company’s chapter 11 case, or any superseding or other bankruptcy case, and the
preparation and execution of all such other papers, and taking of all such other actions by an




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Authorized Person shall be conclusive evidence of the Company’s and the Restructuring
Committee’s approval of such preparation, execution and actions; and it is further,

        RESOLVED, that the Company shall be, and hereby is, authorized to, in the name of and
on behalf of the Company to: (a) borrow funds from, provide guaranties to and undertake related
financing transactions, including hedge transactions and the use of cash collateral (collectively,
the “Financing Transactions”), with such lenders and other parties and on such terms as may be
approved by any one or more of the Authorized Persons, as reasonably necessary for the
continuing conduct of the business and affairs of the Company, including the successful
prosecution of the Company’s chapter 11 case; and (b) pay related fees and grant security
interests in and liens upon some, all or substantially all of the Company’s assets, as may be
deemed necessary by any one or more of the Authorized Persons in connection with such
Financing Transactions; and it is further,

         RESOLVED, that each Authorized Person shall be, and hereby is, authorized on behalf
of any limited liability company for which the Company acts as a member (each, a “Subsidiary
Company”), to take any and all actions required, if any, for such Subsidiary Company to
commence a chapter 11 case with the Bankruptcy Court, including, but not limited, executing
and delivering any written consents as member of such Subsidiary Company or any other
document in its capacity as member of such Subsidiary Company in connection with such case;
and it is further,

        RESOLVED, that (a) the Authorized Persons shall be, and each of them, acting alone,
hereby is, authorized and empowered in the name of and on behalf of the Company to take such
actions and execute and deliver such agreements, certificates, instruments, guaranties, notices
and any and all other documents as the Authorized Persons may deem necessary or appropriate
to facilitate the Financing Transactions, including, without limitation, any amendments,
modifications, supplements, waivers or other appropriate supplemental documentation relating
thereto (collectively, the “Financing Documents”); (b) the execution and delivery of the
Financing Documents by any Authorized Persons containing such provisions, terms, conditions,
covenants, warranties and representations as may be deemed necessary or appropriate by the
Authorized Persons shall be conclusive evidence of the approval of such Financing Documents
by the Company and the Restructuring Committee; and (c) the actions of any Authorized Persons
taken pursuant to this resolution, including the execution and delivery of all agreements,
certificates, instruments, guaranties, notices and other documents, shall be conclusive evidence
of the approval thereof by the Company and the Restructuring Committee; and it is further,

       RESOLVED, that the law firm of Richards, Layton & Finger, P.A. shall be, and is
hereby, engaged as bankruptcy counsel for the Company; and it is further,

       RESOLVED, that Scotia Capital (USA) Inc. shall be, and is hereby, engaged as
investment banker for the Company; and it is further,

        RESOLVED, that Kurtzman Carson Consultants LLC shall be, and is hereby, engaged
as claims and noticing agent and administrative advisor for the Company; and it is further,




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     RESOLVED, that FTI Consulting, Inc. shall be, and is hereby, engaged to provide the
Company with restructuring and interim management services; and it is further,

         RESOLVED, that each Authorized Person is authorized and directed to employ any
other firm as professionals, advisors or consultants to the Company as are deemed necessary to
represent and assist the Company in carrying out its duties under the Bankruptcy Code and, in
connection therewith, each of the Authorized Persons is hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and cause to be filed, if
necessary, an appropriate application for authority to retain the services of such firm(s); and it is
further,

        RESOLVED, that each Authorized Person is hereby severally authorized, directed and
empowered, in the name of and on behalf of the Company, to execute, verify and cause to be
filed requests for first-day relief from the Bankruptcy Court that such Authorized Person may
deem necessary, proper, or desirable in connection with the Petition, with a view to the
successful prosecution thereunder; and it is further,

       RESOLVED, that each Authorized Person is hereby severally authorized, directed and
empowered, in the name of and on behalf of the Company, (a) to take or cause to be taken any
and all actions, and to make or cause to be made all payments (including but not limited to
payments of expenses, retainers and filing fees), (b) to make or cause to be made all federal, state
and local governmental, administrative and/or regulatory filings as may be required or advisable
under the laws or regulations of any jurisdiction, and (c) to negotiate, enter into, execute, deliver
and perform all other documents, agreements, certificates or instruments as may be necessary,
appropriate, convenient or proper, in each case to effectuate the intent of, and the transactions
contemplated by, the foregoing resolutions, and the execution and delivery thereof by such
Authorized Person to be conclusive evidence of such approval; and it is further,

        RESOLVED, that the Company, as debtor and debtor in possession under chapter 11 of
the Bankruptcy Code shall be, and it hereby is, authorized to execute and file the Plan, and
consummate, and perform under, the transactions contemplated therein on such terms
substantially consistent with those presented to the Restructuring Committee on or prior to the
date hereof and as may be further approved, modified or amended by any one or more of the
Authorized Persons, as may be reasonably necessary or desirable for the continuing conduct of
the affairs of the Company; and it is further

        RESOLVED, that each Authorized Person is hereby severally authorized, directed and
empowered to cause the Company to enter into, execute, deliver, certify, file, record and perform
such agreements, instruments, motions, affidavits, applications for approvals or rulings of
governmental or regulatory authorities, certificates or other documents, and to take such other
actions, as in the judgment of such Authorized Person shall be necessary, proper and desirable to
prosecute to a successful completion the Company’s chapter 11 case or modify the obligations,
organizational form and structure, or ownership of the Company consistent with the foregoing
resolutions, and to carry out and put into effect the purposes of the foregoing resolutions, and the
transactions contemplated by these resolutions, such Authorized Person’s authority thereunto to
be conclusively evidenced by the taking of such actions; and it is further,



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        RESOLVED, that any and all acts taken and any and all certificates, instruments,
agreements or other documents executed for or on behalf of the Company by any Authorized
Person prior to the adoption of the foregoing resolutions with regard to any of the transactions,
actions, certificates, instruments, agreements or other documents authorized or approved by the
foregoing resolutions be, and they hereby are, ratified, confirmed, adopted and approved.

                            [Remainder of page intentionally left blank.]




                                                 4
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
ExGen Texas Power, LLC,                                        : Case No. 17-_____ (___)
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x

            CONSOLIDATED LIST OF CREDITORS WHO HAVE THE
       THIRTY (30) LARGEST UNSECURED CLAIMS AND ARE NOT INSIDERS

        The above-captioned debtor and its debtor affiliates (collectively, the “Debtors”) hereby
certify that the Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders submitted herewith contains the names and addresses of the Debtors’
consolidated top thirty (30) unsecured creditors (the “Top Thirty List”). The list has been
prepared from the Debtors’ unaudited books and records as of the Petition Date. The Top Thirty
List was prepared in accordance with Rule 1007(d) of the Federal Rules of Bankruptcy
Procedure for filing in the Debtors’ chapter 11 cases. The Top Thirty List does not include: (1)
persons who come within the definition of an “insider” set forth in 11 U.S.C. § 101(31) or (2)
secured creditors, unless the value of the collateral is such that the unsecured deficiency places
the creditor among the holders of the thirty (largest unsecured claims. The information
presented in the Top Thirty List shall not constitute an admission by, nor is it binding on, the
Debtors. Moreover, nothing herein shall affect the Debtors’ right to challenge the amount or
characterization of any claim at a later date. The failure of the Debtors to list a claim as
contingent, unliquidated or disputed does not constitute a waiver of the Debtors’ right to contest
the validity, priority, and/or amount of any such claim.




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     Debtor Name ExGen Texas Power, LLC

     United States Bankruptcy Court for the: District of Delaware
                                                       (State)
                                                                                                                                     Check if this is an
 Case number (If known):
                                                                                                                                     amended filing




Official Form 204

Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders                                                 12/15
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 30 largest unsecured claims.



                                                                            Nature of                            Amount of unsecured claim
                                                                            the claim     Indicate if        If the claim is fully unsecured, fill in
                                                     Name, telephone                                       only unsecured claim amount. If claim
                                                                                (for       claim is
     Name of creditor and complete mailing          number, and email                                       is partially secured, fill in total claim
                                                                              example,   contingent,
         address, including zip code                address of creditor                                      amount and deduction for value of
                                                         contact            trade debts, unliquidated
                                                                                                                 collateral or setoff to calculate
                                                                            bank loans, or disputed
                                                                                                                        unsecured claim.
                                                                            professional
                                                                             services,                  Total claim, if Deduction       Unsecured
                                                                                and                       partially     for value of      claim
                                                                            government                    secured       collateral or
                                                                             contracts)                                    setoff

 1     Mitsubishi Power Systems, Inc.          Jeffery Phelan               Trade Debt                                                  $ 1,837,419
       2287 Premier Row                        jeffery.phelan@mpshq.com
       Orlando, FL 32809                       617-306-0676


 2     Enterprise Texas Pipeline               Troy Lawrence                Trade Debt                                                  $ 1,071,017
       P.O. Box 4324                           jtlawrence@eprod.com
       Houston, TX 77210                       713-381-8239


 3     Energy Transfer Fuel                    Charlie Stone                Trade Debt                                                   $ 657,004
       PO Box 951439                           charlie.stone@
       Dallas, TX 75395                        energytransfer.com
                                               214-981-0752


 4     Brand Energy And Infrastructure         Eric Drnevich                Trade Debt                                                   $ 587,681
       Services Inc.                           eric.drnevich@beis.com
       1325 Cobb Int. Drive                    856-467-2850
       Suite A-1
       Kennesaw, GA 30152


 5     Siemens Energy Inc.                     Ron Prothe                   Trade Debt                                                   $ 524,079
       Dept. Ch 10169                          ron.prothe@siemens.com
       Palatine, IL 60055-0169                 513-395-5148
                                               407-736-6254
                                               781-380-1306


 6     Chicago Bridge & Iron Inc.              Jeff Bandurski               Trade Debt                                                   $ 473,897
       311 W. Monroe St                        jeffrey.bandurski@cbi.com
       Chicago, Il 60606                       815-210-7316


                                                                                                                                                           page 1



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                                                                             Nature of                            Amount of unsecured claim
                                                                             the claim     Indicate if        If the claim is fully unsecured, fill in
                                                    Name, telephone                                         only unsecured claim amount. If claim
                                                                                 (for       claim is
     Name of creditor and complete mailing         number, and email                                         is partially secured, fill in total claim
                                                                               example,   contingent,
         address, including zip code               address of creditor                                        amount and deduction for value of
                                                        contact              trade debts, unliquidated
                                                                                                                  collateral or setoff to calculate
                                                                             bank loans, or disputed
                                                                                                                         unsecured claim.
                                                                             professional
                                                                              services,                  Total claim, if Deduction       Unsecured
                                                                                 and                       partially     for value of      claim
                                                                             government                    secured       collateral or
                                                                              contracts)                                    setoff

 7     Shermco                               Brad Santa                      Trade Debt                                                   $ 445,146
       PO Box 540545                         bsanta@shermco.com
       Dallas, TX 75234                      972-793-5523


     8 International Chimney Corporation     Ken Baker                       Trade Debt                                                   $ 275,061
       55 S. Long Street                     keb@internationalchimney
       P.O. Box 260                          .com
       Buffalo, NY 14231                     716-650-3413


     9 Kinder Morgan Texas Pipeline          Gary Lamphier                   Trade Debt                                                   $ 260,017
       1001 Louisiana St                     gary_lamphier@
       Suite 1000                            kindermorgan.com
       Houston, TX 77002                     713-369-8730


 10 Gulf South Pipeline                      Ryan Meske                      Trade Debt                                                   $ 210,000
    PO Box 730000                            Ryan.Meske@bwpmlp.com
    Dallas, TX 75373                         713-479-8170


 11 Texas Commission on Environmental        Sondra Predeau                  Regulatory                                                    $ 173,175
    Quality (TCEQ)                           ac@tceq.texas.gov
    MC-214 Cashiers Office                   512-239-1459
    PO Box 13088
    Austin, TX 78711


 12 Filter Technology Company Inc            C.Todd Wilburn                  Trade Debt                                                   $ 171,038
    9018-B Scranton                          twilburn@filtertexas.com
    Houston, TX 77075                        940-365-5800


 13 Maxim Crane Works                        Billy Rodgers                   Trade Debt                                                   $ 164,580
    4389 Solutions Center                    Wrodgers@maximcrane.com
    Lockbox 774389                           817-498-2221
    Chicago, IL 60677-4003


 14 General Electric International           Ronan O-Callaghan               Trade Debt                                                   $ 151,365
    12505 Collection Center                  ronan.ocallaghan@ge.com
    Chicago, IL 60693


 15 Reliable Turbine Services                Melissa Woodruff                Trade Debt                                                   $ 131,229
    858 Acid Mine Road                       mwoodruff@reliableturbine.com
    Sullivan, MO 63080                       573-468-4045


16 Atmos Pipeline                            Jeff Smirin                     Trade Debt                                                   $ 120,000
   5420 LBJ Freeway                          Jeff.Smirin@atmosenergy.com
   Dallas, TX 75240                          214-206-2509


17 Phoenix Industrial Services 1 LP          Trey Parker                     Trade Debt                                                   $ 115,325
   3008 North 23rd Street                    tparker@phoenixservices.com
   LaPorte, TX 77571                         281-471-6200


18 Vinson Process Controls Co LP             Scott Bedell                    Trade Debt                                                   $ 115,141
   PO Box 671389                             sbedell@vpcco.com
   Dallas, TX 75267-1389                     972-459-8263
                                             972-389-5763

                                                                                                                                                         page 2



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                                                                        Nature of                           Amount of unsecured claim
                                                                        the claim    Indicate if        If the claim is fully unsecured, fill in
                                                Name, telephone                                       only unsecured claim amount. If claim
                                                                           (for       claim is
  Name of creditor and complete mailing        number, and email                                       is partially secured, fill in total claim
                                                                         example,   contingent,
      address, including zip code              address of creditor                                      amount and deduction for value of
                                                    contact            trade debts, unliquidated
                                                                                                            collateral or setoff to calculate
                                                                       bank loans, or disputed
                                                                                                                   unsecured claim.
                                                                       professional
                                                                        services,                  Total claim, if Deduction       Unsecured
                                                                           and                       partially     for value of      claim
                                                                       government                    secured       collateral or
                                                                        contracts)                                    setoff

19 Airgas Specialty Products              Dave Hammon                  Trade Debt                                                   $ 110,326
   PO Box 934434                          dave.hammon@airgas.com
   Atlanta, GA 31193-4434                 770-717-2210


20 Advanced Turbine Support               Chris McGinley               Trade Debt                                                   $ 108,190
   3946 SW 89th Dr                        cmcginley@
   Gainesville, FL 32068                  advancedturbinesupport.com
                                          352-231-5284


21 Integrated Power Services              Sean Coughran                Trade Debt                                                   $ 104,772
   1500 E Main St                         scoughran@ips.us
   La Porte, TX 77571                     320-693-6200
                                          281-471-4611


22 Saber Power Services, LLC              Kyle Tomek                   Trade Debt                                                    $ 74,231
   9841 Saber Power Lane                  ktomek@saberpower.com
   Rosharon, TX 88783                     713-222-9102


23 Air Products LLC                       Stacy Stewart                Trade Debt                                                    $ 70,977
   PO Box 935430                          stewars3@airproducts.com
   Atlanta, GA 31193                      281-874-7131


24 Enexio US LLC                          Thomas Hatcher               Trade Debt                                                    $ 66,683
   PO Box 64864                           Thomas.hatcher@enexio.com
   Baltimore, MD 21264                    281-484-9089


25 Specialty Rescue & Fire Service        David Felkins                Trade Debt                                                    $ 66,600
   (SR&FS)                                david@specialtyrescue.com
   PO Box 124                             817-866-3720
   Grandview, TX 76050


26 Moody’s Investor Services              Raymond Charles Pedicone     Professional                                                  $ 66,306
   250 Greenwich St                       Raymond.pedicone@             Services
   New York, NY 10007                     moodys.com
                                          212-553-6870


27 GE Energy Control Solutions            Grover Allen                 Trade Debt                                                    $ 50,979
   1800 Nelson Road                       grover.allen@ge.com
   Longmont, CO 80501                     502-493-8000


28 Red Ball Oxygen Company                Bob Ewing                    Trade Debt                                                    $ 50,152
   PO Box 7316                            bobewing@redballoxygen.com
   Shreveport, LA 71137-7316              800-551-8150


29 New Gen Products                       Brad King                    Trade Debt                                                    $ 46,038
   200 Union Bower Ct                     brad@newgenproducts.com
   Suite 210                              214-792-9280
   Irving, TX 75061




                                                                                                                                                   page 3



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                                                                              Nature of                            Amount of unsecured claim
                                                                              the claim     Indicate if        If the claim is fully unsecured, fill in
                                                    Name, telephone                                          only unsecured claim amount. If claim
                                                                                  (for       claim is
  Name of creditor and complete mailing            number, and email                                          is partially secured, fill in total claim
                                                                                example,   contingent,
      address, including zip code                  address of creditor                                         amount and deduction for value of
                                                        contact               trade debts, unliquidated
                                                                                                                   collateral or setoff to calculate
                                                                              bank loans, or disputed
                                                                                                                          unsecured claim.
                                                                              professional
                                                                               services,                  Total claim, if Deduction       Unsecured
                                                                                  and                       partially     for value of      claim
                                                                              government                    secured       collateral or
                                                                               contracts)                                    setoff

30 United Electric Cooperative Services, Inc Customer Service/Billing Dep’t   Trade Debt                                                    $ 40,744
   PO Box 290                                817-326-5232
   Stephenville, TX 76401




                                                                                                                                                          page 4



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Fill in this information to identify the case and this filing:


Debtor Name ExGen Texas Power, LLC

United States Bankruptcy Court for the: District of Delaware
                                                     (State)

Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                            Declaration and signature

                       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                       partnership; or another individual serving as a representative of the debtor in this case.

                       I have examined the information in the documents checked below and I have a reasonable belief that the information
                       is true and correct:

                       ☐           Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                       ☐           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                       ☐           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                       ☐           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                       ☐           Schedule H: Codebtors (Official Form 206H)


                       ☐           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                       ☐           Amended Schedule


                       ☐           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
                                   Insiders (Official Form 204)


                       ☒           Other document that requires a declaration       Consolidated List of Creditors Who Have the 30 Largest
                                   Unsecured Claims and are Not Insiders


I declare under penalty of perjury that the foregoing is true and correct.

Executed on      11/07/2017
                 MM / DD / YYYY                                        /s/ David Rush
                                                                       Signature of individual signing on behalf of debtor

                                                                       David Rush
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
ExGen Texas Power, LLC,                                        : Case No. 17-_____ (___)
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x

                         STATEMENT OF CORPORATE OWNERSHIP

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the undersigned authorized officer of the above-captioned debtor (the “Debtor”) certifies that the

following corporate entities directly or indirectly own 10% or more of the Debtor:

                                        Exelon Corporation
                                 Exelon Generation Company, LLC
                                 ExGen Texas Power Holdings, LLC




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Fill in this information to identify the case and this filing:



Debtor Name ExGen Texas Power, LLC

United States Bankruptcy Court for the: District of Delaware
                                                     (State)

Case number (If known):



Official Form 202

Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                      12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                       Declaration and signature

                   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                   partnership; or another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                   and correct:


                   ☐              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ☐              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ☐              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ☐              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ☐              Schedule H: Codebtors (Official Form 206H)


                   ☐              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ☐               Amended Schedule


                   ☐              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204)


                   ☒              Other document that requires a declaration Statement            of Corporate Ownership
I declare under penalty of perjury that the foregoing is true and correct.


Executed on            11/07/2017
                       MM / DD / YYYY                            /s/ David Rush
                                                                 Signature of individual signing on behalf of debtor

                                                                 David Rush
                                                                 Printed name

                                                                 Chief Restructuring Officer
                                                                 Position or relationship to debtor




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         : Chapter 11
                                                               :
ExGen Texas Power, LLC,                                        : Case No. 17-_____ (___)
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x

                           LIST OF EQUITY SECURITY HOLDERS

        Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(3), the above-captioned

debtor hereby provides the following name and address of the sole holder of its limited liability

company interests:


            Name and Address of Interest Holder                        Percentage of Interests Held
ExGen Texas Power Holdings, LLC
10 South Dearborn Street, 49th Floor                                                 100%
Chicago, Illinois 60603




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Fill in this information to identify the case and this filing:



Debtor Name ExGen Texas Power, LLC

United States Bankruptcy Court for the: District of Delaware
                                                     (State)

Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                      12/15
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by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


                       Declaration and signature

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                   partnership; or another individual serving as a representative of the debtor in this case.

                   I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                   and correct:

                   ☐              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                   ☐              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                   ☐              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                   ☐              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                   ☐              Schedule H: Codebtors (Official Form 206H)


                   ☐              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                   ☐               Amended Schedule


                   ☐              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                                  (Official Form 204)


                   ☒              Other document that requires a declaration List         of Equity Security Holders
I declare under penalty of perjury that the foregoing is true and correct.

Executed on            11/07/2017                                /s/ David Rush
                       MM / DD / YYYY                            Signature of individual signing on behalf of debtor

                                                                 David Rush
                                                                 Printed name

                                                                 Chief Restructuring Officer
                                                                 Position or relationship to debtor




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